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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 TOBIAS FONSECA,

          Plaintiff,                                         Case No.: 1:24-cv-00567

 v.                                                          Judge Elaine E. Bucklo

 THE PARTNERSHIPS AND UNINCORPORATED      Magistrate Judge Jeffrey T. Gilbert
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

          Defendants.


                                    NOTICE OF DISMISSAL

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                 NO.                                    DEFENDANT
                  72                                         Sinnky
                   3                                     XCTRQBHD
                 106                                 Shylapi Direct Store
                 109                           Shenzhen Yafen Clothing Co., Ltd
                 119                                     BEST EVER
                 120                                          Pedo
                 124                                        ArtShop
                 100                                         gersrd
                 104                            沈阳市铁西区星寒潮流服装店
                 118                                     Yi Shi Jewelry
                 114                               PLUS GIRL FASHION
                 116                               Relina Ladies Underwear
                  71                                       gShopVV
                  67                                        OLinlife
                  75                                        FOIYN
                  99                                         Seyoys
                 101                                      Aohicon-US
                 102                                         Cosiki
                 103                                         Sugoyi
                 115                                   Interesting design


                                                  1
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            122                             Creative Designer
            123                                  Be kind


DATED: March 21, 2024                       Respectfully submitted,

                                            /s/ Keith A. Vogt
                                            Keith A. Vogt (Bar No. 6207971)
                                            Keith Vogt, Ltd.
                                            33 W. Jackson Blvd., #2W
                                            Chicago, Illinois 60604
                                            Telephone:312-971-6752
                                            E-mail: keith@vogtip.com

                                            ATTORNEY FOR PLAINTIFF




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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on March 21, 2024 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt




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